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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              AT BECKLEY

BRIAN ARDEN RICHMOND,

     Petitioner,

v.                                          CIVIL ACTION NO. 5:03-0076
                                     CRIMINAL ACTION NO. 5:99-00239-01

UNITED STATES OF AMERICA,

     Respondent.

                              JUDGMENT ORDER

     By Standing Order entered on May 30, 2002, and filed in this

case on January 31, 2003, this matter was referred to United

States Magistrate Judge R. Clarke VanDervort.            Pursuant to 28

U.S.C. § 636(b)(1)(B), the Standing Order directs Magistrate

Judge VanDervort to submit proposed findings and recommendation

concerning the disposition of this matter.            Magistrate Judge

VanDervort submitted his Proposed Findings and Recommendation on

February 2, 2006.     The magistrate judge made the following

recommendations:      (1) that the court confirm and accept the

magistrate judge’s findings, (2) that the court grant

petitioner’s motion to toll the statute of limitations (Doc. No.

233), (3) that the court deny petitioner’s motion under 28 U.S.C.

§ 2255 (Doc. No. 234), and Addendum (Doc. No. 272), and (4) that

the court remove this case from the court’s docket.

     In accordance with the provisions of 28 U.S.C. § 636(b), the

parties were allotted ten days, plus three mailing days, in which
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to file any objections to Magistrate Judge VanDervort's Proposed

Findings and Recommendation.

     Petitioner filed his objections on February 16, 2006.                 The

court has conducted a de novo review of the record as to all of

the objections.       For reasons to be discussed in a memorandum

opinion to be filed forthwith, the court OVERRULES the

plaintiff’s objections.       The court further (1) CONFIRMS and

ACCEPTS the magistrate judge’s findings, (2) GRANTS petitioner’s

motion to toll the statute of limitations (Doc. No. 233), (3)

DENIES petitioner’s motion under 28 U.S.C. § 2255 (Doc. No. 234),

and Addendum (Doc. No. 272), and (4) DIRECT the Clerk to dismiss

this case and remove it from the court’s docket.

     The Clerk is directed to forward a copy of this Order to the

plaintiff, pro se, and to all counsel of record.

     IT IS SO ORDERED this 27th day of February, 2006.

                                                 ENTER:



                                                  David A. Faber
                                                  Chief Judge




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